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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC
 FILTERS MARKETING, SALES PRACTICES AND                       Case No. 1:14-ml-2570-RLY-TAB
 PRODUCT LIABILITY LITIGATION                                           MDL No. 2570


 This Document Relates to:

 Vanderslice, Terrell, Case No. 1:22-cv-06784


                         STIPULATED DISMISSAL WITH PREJUDICE

       The parties in the above-captioned case hereby stipulate, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) and CMO-28, that Plaintiff’s claims against all Defendants shall be

dismissed with prejudice. Each party shall bear its own fees and costs.

Dated: August 4, 2022


/s/ Taylor Wright Williams                   /s/ Jessica Benson Cox
Taylor Wright Williams, Esq.                 Jessica Benson Cox, Esq.
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Attorney for Plaintiff                       Attorney for Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of August, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.



                                                    /s/ Jessica Benson Cox
                                                    Jessica Benson Cox




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